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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 INSIDER, INC.,

                        Plaintiff,

                        v.                            Case No. 1:21-cv-02653 (TNM)

 U.S. GENERAL SERVICES
 ADMINISTRATION,

                        Defendant.

                                     MEMORANDUM OPINION

       Media company Insider Inc. filed FOIA requests with the General Services

Administration seeking its records on President Trump and Vice President Pence’s 2020

transition teams. GSA obliged, producing many documents. But it withheld some team

members’ names under FOIA Exemption 6. Displeased, Insider sued.

       Now, both parties move for summary judgment. The Court holds that GSA has satisfied

its duty under FOIA to search for and produce all nonexempt information. So the Court will

grant summary judgment for GSA and deny Insider’s cross motion.

                                                I.

       In 2021, Insider filed three FOIA requests with GSA. Each sought “information

related to expenditures from presidential transition accounts maintained by GSA.” Def.’s Stat. of

Undisp. Mat. Facts (SUMF) ¶ 9, ECF No. 11-2. In response, GSA determined who might have

such documents and directed those employees to gather them. Decl. of Travis Lewis ¶ 15, ECF

No. 11-3. It then delivered hundreds of pages of records to Insider. Id. ¶¶ 18, 20.

       As part of that production, GSA created a spreadsheet for each transition team. The

sheets detailed each team members’ salary and estimated benefits. Ex. A, ECF No. 11-3. And
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the sheet for President Trump’s team also listed team members’ titles. Id. Yet GSA redacted

some of the team members’ names under FOIA Exemption 6, citing the need to protect those

individuals’ privacy. SUMF ¶¶ 15, 17.

       Miffed, Insider sued GSA. See Compl., ECF No. 1. Insider claims only that GSA

improperly withheld the names under Exemption 6. See Joint Status Rep., ECF No. 9. And it

asks this Court to order GSA to produce them. Compl. ¶ 38(ii). 1

       Both parties now move for summary judgment. See Def.’s MSJ, ECF No. 11; Pl.’s MSJ,

ECF No. 12. This Court has jurisdiction under 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. § 1331.

                                               II.

       To win on a motion for summary judgment, a party must show that “there is no genuine

dispute as to any material fact.” Fed. R. Civ. P. 56(a). In FOIA cases, an agency must prove that

it has disclosed any responsive documents it holds “unless the documents [meet an] enumerated

exemption.” U.S. Fish & Wildlife Serv. v. Sierra Club, Inc., 141 S. Ct. 777, 785 (2021). And

“the agency must articulate, in a focused and concrete way, the harm that would result from

disclosure.” Reps. Comm. for Freedom of the Press v. CBP, 567 F. Supp. 3d 97, 110 (D.D.C.

2021) (cleaned up).

       Courts construe FOIA exemptions narrowly and consider their applicability de novo. Id.

at 108. Agencies bear the burden of showing that a claimed exemption applies, even if the

requester seeks summary judgment too. Hardy v. ATF, 243 F. Supp. 3d 155, 162 (D.D.C. 2017).

       To satisfy Exemption 6, agencies must first show that they withheld information in

“personnel and medical files and similar files.” 5 U.S.C. § 552(b)(6). If the agency does, it must



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  During litigation, GSA has given Insider four of the nine names it originally withheld,
narrowing the case to five unproduced names. SUMF ¶ 18; Def.’s Reply 1–2, ECF No. 14.


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then prove that “the disclosure of [those files] would constitute a clearly unwarranted invasion of

personal privacy.” Id.; Am. Immigr. Laws. Ass’n v. Exec. Off. for Immigr. Rev., 830 F.3d 667,

673 (D.C. Cir. 2016). Finally, if the requester can show a public interest in disclosure, then the

agency must show that the “substantial interest in personal privacy is not outweighed by [that]

public interest.” Multi Ag Media LLC v. USDA, 515 F.3d 1224, 1232 (D.C. Cir. 2008) (cleaned

up).

       To carry its burdens, an agency can rely on declarations alone. See Shapiro v. DOJ, 893

F.3d 796, 799 (D.C. Cir. 2018). Yet it may do so only if neither record evidence nor evidence of

the agency’s bad faith contradicts them. Id.

                                                III.

                                                 A.

       GSA meets its initial burden of showing that Exemption 6 applies: The names are in

“similar files” and their “disclosure . . . would constitute a clearly unwarranted invasion of

personal privacy.” 5 U.S.C. § 552(b)(6).

       Similar files. “The Supreme Court has interpreted the phrase ‘similar files’ to include all

information that applies to a particular individual.” Lepelletier v. FDIC, 164 F.3d 37, 47 (D.C.

Cir. 1999). And the D.C. Circuit has held that it “also [exempts] bits of personal information,

such as names.” Jud. Watch, Inc. v. FDA, 449 F.3d 141, 152 (D.C. Cir. 2006). Thus, the names

on the spreadsheets fit the first requirement. Insider does not dispute this.

       Clearly unwarranted invasion of personal privacy. Next, GSA must show that disclosure

of the names would be “a clearly unwarranted invasion of personal privacy.” 5 U.S.C.

§ 552(b)(6). This requirement “is not very demanding.” Niskanen Ctr. v. FERC, 20 F.4th 787,

791 (D.C. Cir. 2021) (cleaned up).




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       GSA carries its burden here, too. For one, other transition staff have been harassed and

threatened. Lewis Decl. ¶ 36; Niskanen Ctr., 20 F.4th at 791 (noting “a significant privacy

interest” in information that “might invite unwarranted intrusions”). Plus, the team members are

not public figures. Def.’s SUMF ¶¶ 24–25; see James Madison Project v. DOJ, 436 F. Supp. 3d

195, 205 (D.D.C. 2020) (high-ranking official had “a significant privacy interest,” in part,

because he was not a public figure). Nor have they publicly advertised their positions. Lewis

Decl. ¶ 30.

       Insider counters that GSA disclosed some names only because those team members held

high-level positions on the teams. Thus, GSA must prove that the redacted team members held

low-level government positions, positions which typically carry a greater expectation of privacy.

Since it fails to do that, Insider reasons, GSA must disclose those names too. Pl.’s MSJ at 1–3.

       But this is beside the point. Under FOIA, the team members are neither high nor low-

level government employees. See Presidential Transition Act of 1963, Public Law 88–277,

§ 3(a)(2), 78 Stat. 153 (transition team members “shall not be held or considered to be employees

of the Federal Government except for purposes of [other specified statutes].”); cf. Wolfe v. HHS,

711 F.2d 1077, 1082 (D.C. Cir. 1983) (finding that transition team reports were not agency

records under FOIA); Democracy Forward Found. v. GSA, 393 F. Supp. 3d 45, 54 (D.D.C.

2019) (same for emails); U.S. Dep’t of Justice, FOIA Update, Vol. IX no. 4 (1988) (“[I]t seems

quite clear that transition teams are not federal agencies subject to the FOIA.”). Rather, they are

private citizens; GSA merely pays them. Lewis Decl. ¶ 6. And private citizens, like low-level

government employees, have a heightened privacy interest. Common Cause v. NRC, 674 F.2d

921, 938 (D.C. Cir. 1982).




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       But even if the team members were government employees, GSA would still carry its

burden. GSA’s decision to withhold the names turned on more than their seniority. It

“considered multiple factors” for all team members: whether they were public figures, held high-

level positions, or had publicly identified themselves as working for the teams. SUMF ¶¶ 20–

23. 2 GSA then asked if “the public’s interest in disclosure . . . overc[a]me each individual’s

privacy interest.” Id. ¶¶ 24–25.

       It also noted that disclosing the names would “not shed light” on GSA’s expenditures

because the spreadsheets already included the team members’ salary and benefits. Id. ¶ 26. And

GSA determined that disclosure posed a “legitimate” threat to the team members’ privacy since

transition staff have been harassed in the past. Id. ¶¶ 28–29.

       More, as part of its analysis, GSA disclosed four more names during this litigation.

Lewis Decl. ¶ 24; Def.’s Reply at 1. For example, it disclosed Cassidy Hutchinson’s name after

she received media coverage. Def.’s Reply at 1. In short, GSA made a careful, nuanced, and

individualized determination.

       Thus, GSA has shown that the names count as “similar files” and that the transition staff

have a significant privacy interest in protecting their names from disclosure.

                                                B.

       Next, the burden shifts to Insider to show that disclosure is in the public interest. To do

that, Insider must prove that disclosing the names would “help the public stay informed about

‘what their government is up to.’” Exec. Off., 830 F.3d at 674 (quoting DOJ v. Reporters Comm.

for Freedom of Press, 489 U.S. 749, 776 (1989)).


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  In conducting this analysis, it looked at more than just the team members’ salary. For instance,
GSA disclosed one team member, Marc Short, whose relatively low salary belied his high-
profile former position. Ex. A, ECF No. 11-3.


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          Insider’s theory is simple: Presidential transitions are important and thus the public has a

significant interest in knowing who helps run them. Pl.’s MSJ at 3–4. And as Insider notes,

another judge in this district has found that disclosing the names of transition team members

serves the public interest. See Am. Oversight v. GSA, 311 F. Supp. 3d 327, 348 (D.D.C. 2018).

          The Court is unconvinced. Disclosing transition staffs’ names, alone, tells the public

almost nothing about what GSA is up to. GSA does not hire transition teams. Lewis Decl. ¶ 6.

Nor does it decide their pay or job duties. And GSA is not the staffs’ employer. It merely

supports transition teams by paying their staff and helping with their administrative needs. See

Presidential Transition Act of 1963, Public Law 88–277, § 3(a)(2), 78 Stat. 153; Lewis Decl.

¶¶ 6–7.

          What is more, the information request in American Oversight was different. And so the

public interest analysis is too. The requester in American Oversight sought GSA’s

communications with transition staff, including “calendar entries [and] meeting agendas.” 311

F. Supp. 3d at 333–34. Disclosing names in those documents could help illuminate GSA’s inner

workings. Who did GSA invite to meetings? Did it communicate with high-ranking members or

low?

          But here, GSA has already disclosed practically all responsive information about its

involvement with the transition teams: It disclosed how much it paid the team members and how

long it expected to pay them for. Lewis Decl., Ex. A. Plus, it disclosed each team members’

benefits. Id. So Insider got all the information that would help the public know more about

GSA’s “expenditures from [presidential transition] accounts[s].” Compl. ¶ 6.




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                                                 C.

        Even if Insider showed that there is a public interest in disclosure, GSA has proved that

the private interest dwarfs it.

        Any public interest here is light. In contrast, the privacy interest weighs heavy. There is

a real threat that the team members would be threatened or harassed if their names were

disclosed. It has happened before. Lewis Decl. ¶ 36. And that worry is heightened here since

Insider has published the names of other staff that GSA disclosed to it. Id. ¶ 35.

        More still, the team members are not public figures, nor have they tried to become

famous by publicizing their roles. And unlike in American Oversight, these team members are

still anonymous. See 311 F. Supp. 3d at 346 (finding harassment concerns “overblown” where

the transition team had “posted online the [transition team] members’ names.”). Finally, they are

private citizens, not government employees.

        Thus, the team members’ significant privacy interests outweigh any slight “incremental

value” of disclosing five more names. Exec. Off., 830 F.3d at 674 (cleaned up).

                                                 D.

        GSA has also satisfied its duty to explain the harm that would flow from disclosure.

Reps. Comm. for Freedom of the Press, 567 F. Supp. 3d at 110. Insider contacted and then wrote

about other team members after GSA disclosed their names. Lewis Decl. ¶ 35. And transition

team members have faced threats in the past. Id. ¶ 36. Based on these uncontradicted facts, the

Court finds that GSA has “articulate[d], in a focused and concrete way, the harm that would

result from disclosure, including the basis and likelihood of that harm.” Reps. Comm. for

Freedom of the Press, 567 F. Supp. 3d at 110 (cleaned up). And Insider does not dispute this.




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                                               IV.

       Under FOIA, agencies must provide “[a]ny reasonably segregable portion of a record”

after deleting the exempted portions. 5 U.S.C. § 552(b). �ough courts presume that agencies

have disclosed “reasonably segregable material,” agencies still “must provide a detailed

justiﬁcation for its non-segregability.” Johnson v. Exec. Oﬀ. for U.S. Att’ys, 310 F.3d 771, 776

(D.C. Cir. 2002) (cleaned up).

       GSA explains that it redacted only the names on the salary spreadsheet. Def.’s MSJ at

13. After reviewing the redacted spreadsheets, the Court is satisﬁed that GSA has reasonably

segregated the exempt information. And Insider does not contest this either.

                                                    V.

       For these reasons, the Court will grant GSA’s Motion for Summary Judgment and deny

Insider’s Cross-Motion for Summary Judgment. A separate Order will issue.


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Dated: October 18, 2022                                  TREVOR N. McFADDEN, U.S.D.J.




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